        Case 3:07-cv-05944-JST Document 2885 Filed 10/02/14 Page 1 of 4



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   SHENZEN SAMSUNG SDI CO., LTD. and
15 TIANJIN SAMSUNG SDI CO., LTD.

16

17                              UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                 SAN FRANCISCO DIVISION

20

21 In re: CATHODE RAY TUBE (CRT)                Case No. 07-5944 SC
   ANTITRUST LITIGATION
22                                              MDL No. 1917

23                                              STIPULATION AND [PROPOSED]
                                                ORDER REGARDING WRITTEN
24 This Document Relates to:                    DISCOVERY
25 TECH DATA ACTION
   Individual Case No. 13-CV-00157 SI
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     SMRH:432340890.1                               STIPULATION AND [PROPOSED] ORDER REGARDING
                                                                             WRITTEN DISCOVERY
        Case 3:07-cv-05944-JST Document 2885 Filed 10/02/14 Page 2 of 4



 1                      Defendants Samsung SDI America, Inc., Samsung SDI Co., Ltd., Samsung SDI

 2 (Malaysia) Sdn. Bhd., Samsung SDI Mexico S.A. De C.V., Samsung SDI Brasil Ltda., Shenzen

 3 Samsung SDI Co., Ltd. and Tianjin Samsung SDI Co., Ltd. (collectively, “SDI”) and plaintiffs

 4 Tech Data Corporation and Tech Data Product Management, Inc. (collectively, “Tech Data”) have

 5 conferred by and through their counsel and, subject to the Court’s approval, HEREBY

 6 STIPULATE AS FOLLOWS:

 7                      WHEREAS, September 5, 2014 was the deadline to complete fact discovery in the

 8 Tech Data action.

 9                      WHEREAS, September 12, 2014 is the deadline to file motions to compel in the

10 Tech Data action.

11                      WHEREAS, SDI and Tech Data have conferred in good faith and agreed that Tech

12 Data will supplement its response to Samsung SDI Co., Ltd.’s Interrogatory No. 24 and provide

13 verifications for all responses to all SDI interrogatories by September 26, 2014.

14

15                      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between

16 counsel as follows:

17

18           1. Tech Data will supplement its response to Samsung SDI Co., Ltd.’s Interrogatory No.

19                24 and provide verifications for all responses to all SDI interrogatories by September

20                26, 2014. SDI’s deadline to file a motion to compel, with respect to Samsung SDI Co.,

21                Ltd.’s Interrogatory No. 24, is October 3, 2014.

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23 PURSUANT TO STIPULATION, IT IS SO ORDERED.                          TA
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          October 2, 2014
25 Dated:___________________                                         APPR
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26                                                     UNITED STATES DISTRICT JUDGE
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27                                                                  Judge S
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        Case 3:07-cv-05944-JST Document 2885 Filed 10/02/14 Page 3 of 4



 1 Dated: September 12, 2014             By:          /s/ Leo D. Caseria_________

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14                                       Samsung SDI Co., Ltd. and Tianjin Samsung SDI
                                         Co., Ltd.
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        Case 3:07-cv-05944-JST Document 2885 Filed 10/02/14 Page 4 of 4



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10                                                     Attorneys for Plaintiffs Tech Data Corporation and
                                                       Tech Data Product Management
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13                      Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of
14 this document has been obtained from each of the above signatories.

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